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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS



IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                    Case No. 1:16-cv-08637

                                              Hon. Thomas A. Durkin
This Document Relates To:
Direct Purchaser Actions                      Magistrate Judge Jeffrey T. Gilbert




 DIRECT PURCHASER PLAINTIFFS’ MOTION TO APPROVE A PLAN OF NOTICE
   OF SETTLEMENT WITH DEFENDANT FIELDALE FARMS CORPORATION




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           Pursuant to this Court’s August 18, 2017 Order Preliminarily Approving Proposed

Settlement Between Direct Purchaser Plaintiff Class And Fieldale Farms Corporation And

Conditionally Certifying The Proposed Settlement Class (ECF No. 462, hereinafter referred to as

“MFPA Order”), the Direct Purchaser Plaintiffs (“DPPs”) respectfully move this Court for an

order approving a plan of notice of the Fieldale Farms settlement.

I.         INTRODUCTION

           In granting preliminary approval to the settlement in August 2017, the Court permitted

DPPs to defer disseminating notice to the class until further developments in the litigation. DPPs

believe that providing notice of the Fieldale Farms settlement now is in the best interest of the

Settlement Class Members and the ongoing litigation. Since the time the Court entered its

preliminary approval order, class members have learned about the lawsuit through other sources

including media reports, subpoenas by Defendants and others, and third-party solicitations.

These developments have prompted class member questions regarding the lawsuit, and DPP

Class Counsel believe these questions may most reliably be answered in a Court-approved notice

containing accurate information. DPPs plan of notice should be approved because it comports

with due process and Federal Rule of Civil Procedure (“Rule 23”) by providing direct and

publication notice to Class Members, which contains the necessary information to apprise Class

Members of the nature of the action, the terms of the settlement, and their rights thereunder. The

notice provider is highly experienced in handling class notice and will use the resources at its

disposal to insure the accuracy and effectiveness of the notice. As such, DPPs respectfully

request that this Court approve the plan of notice described herein and schedule the final

settlement approval process.




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II.        LEGAL STANDARD

           Rule 23(e) requires that prior to final approval, notice of a proposed settlement be given

in a reasonable manner to all class members who would be bound by such a settlement. For a

class proposed under Rule 23(b)(3), whether litigated or by virtue of a settlement, Rule

23(c)(2)(B) states:

                  The notice must clearly and concisely state in plain, easily
                  understood language: (i) the nature of the action; (ii) the definition
                  of the class certified; (iii) the class claims, issues, or defenses; (iv)
                  that a class member may enter an appearance through an attorney
                  if the member so desires; (v) that the court will exclude from the
                  class any member who requests exclusion; (vi) the time and
                  manner for requesting exclusion; and (vii) the binding effect of a
                  class judgment on members under Rule 23(c)(3).

The form of notice is “adequate if it may be understood by the average class member.” 4

Newberg on Class Actions § 11.53 (4th ed. 2002) (“Newberg”).

           Notice to class members must be “the best notice practicable under the circumstances,

including individual notice to all members who can be identified through reasonable effort.”

Amchem Prods., 521 U.S. at 617 (quoting Fed. R. Civ. P. 23(c)(2)); City of Greenville v.

Syngenta Crop Prot., No. 3:10-cv-188, 2012 WL 1948153, at *4 (S.D. Ill. May 30, 2012)

(same). Notice should be mailed to members who can be identified through reasonable effort,

and other members should be notified by publication. City of Greenville, 2012 WL 1948153 at

*4; see Stoller v. Baldwin-United Corp., 650 F. Supp. 341, 343–44 (S.D. Ohio 1986) (approving

combination of mailing and publication).




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III.       PROPOSED NOTICE            OF     THE      FIELDALE       FARMS        CORPORATION
           SETTLEMENT

           DPPs propose to the Court a plan of notice which, comports with due process and

provides reasonable notice to all known and reasonably identifiable customers of Defendants

pursuant to Rule 23.

           The class notice documents consisting of the summary publication notice, email notice,

and a long form notice comply with the requirements of Rule 23(c)(2)(B). (The proposed

summary, email, and long form notices are attached to the Declaration of Bobby Pouya as

Exhibits “A” “B” and “C” respectively.) The notice documents define the class, 1 describe the

nature of the action, summarize the class claims, and explain the procedure for requesting

exclusion from the settlement class and objecting to the proposed settlement.             The notice

documents describe the terms of the settlement with Defendant Fieldale Farms Corporation, 2 and

inform the Settlement Class Members that there is no plan of distribution at this time to

qualifying Class Members. The notice documents provide the date, time and place of the final

approval hearing, and informs class members that they need not enter an appearance through

counsel, but may do so if they choose. The notice documents also inform Settlement Class



           1
          This Court has already certified the settlement Class in the MFPA Order as: “All
persons who purchased Broilers directly from any of the Defendants or any co-conspirator
identified in this action, or their respective subsidiaries or affiliates for use or delivery in the
United States from at least as early as January 1, 2008 until the date of this Preliminary Approval
Order. Specifically excluded from this Class are the Defendants, the officers, directors or
employees of any Defendant; any entity in which any Defendant has a controlling interest; and
any affiliate, legal representative, heir or assign of any Defendant. Also excluded from this Class
are any federal, state or local governmental entities, any judicial officer presiding over this action
and the members of his/her immediate family and judicial staff, any juror assigned to this action,
and any co-conspirator identified in this action.” MFPA Order, ECF No. 462, p. 2.
        2
          A true and correct copy of the Settlement Agreement Between Plaintiffs And Fieldale
Farms fully executed on July 27, 2017, was attached to the Declaration of W. Joseph Bruckner as
Exhibit “A” and filed concurrently with the Motion for Preliminary Approval of settlement (ECF
No. 447-2).


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Members how to exercise their rights to participate in, opt out of, or object to the proposed

settlement, how to make informed decisions regarding the proposed settlement, and tell class

members that the settlement will be binding upon them if they do not opt out.

           Plaintiffs’ proposed plan to disseminate notice also comports with due process and Rule

23. The plan includes: (1) direct notice by U.S. mail and email to each class member who can be

identified by reasonable effort, including but not limited to Defendants’ customer lists; (2)

publication of the summary notice in industry-related mailed and digital media; and (3) the

posting of both forms of notice on a public website.         Plaintiffs have retained JND Legal

Administration (“JND”), an experienced national class action notice provider and claims

administrator, to assist with class notice for this settlement. 3 JND has experience administering

numerous settlements, including antitrust class actions.      Its services include designing and

executing class notice plans, handling settlement funds escrow and reporting, class member data

management, legal notification, call center support, and claims administration. See Declaration

of Jennifer M. Keough, filed herewith, ¶¶ 2-3, Exh. A.

           Since the class members in this case directly purchased Broiler chickens from

Defendants, DPPs expect to obtain mailing addresses for the vast majority of class members

from Defendants’ customer lists, and will rely predominantly on direct mail and email “to all

members who can be identified through reasonable effort.” Amchem Prods., 521 U.S. at 617

(quoting Fed. R. Civ. P. 23(c)(2)). The Defendants have agreed to produce their customer list

data needed to efficiently disseminate notice in accordance with the Court’s order. See Pouya

Decl. ¶ 3, Exh. D.




           3
               http://www.jndla.com


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           Once JND receives the customer list data, it will analyze the data and conduct address

research to verify the Settlement Class Members’ mailing addresses, updating as necessary.

Keough Decl. ¶ 7. JND will mail the Long Form Notice via first-class U.S. mail to those

Settlement Class Members. Id. JND will also send the email notice to all Settlement Class

Members for whom email addresses are provided in the class list data. Id. ¶ 8. The email notice

will provide Class Members with an electronic link to the settlement website, where they can

obtain more information including the long form notice and the Settlement Agreement. Id. This

direct mail and email notice should reach the vast majority of class members. Id. ¶ 9.

           JND further plans to supplement the direct mail and email notice via publication notice.

This will include both print and digital media components. Suggested print publications include

the Shelby Report, Progressive Grocer, Meat + Poultry, Poultry Times, Frozen & Refrigerated,

Supermarket News, and Grocery Headquarters. The print ads are expected to be included in a

single issue of each of the publications.        Keough Decl. ¶ 10.      Suggested digital media

publications include the Shelby Report, Progressive Grocer, Meat + Poultry, Poultry Times,

Supermarket News, Grocery Headquarters, and Fast Casual. The digital ads are expected to run

on these websites for one month. Id. ¶ 11.

           JND will also host an informational website with a memorable domain name, providing

additional information and documents, and a toll-free number for frequently asked questions and

requests for mailing of further information. Keough Decl. ¶ 12. The website and call center will

be available in both English and Spanish. See id.

           Class Counsel submits that this proposed Notice goes above and beyond the requirements

imposed by Fed. R. Civ. P. 23(c)(2) and 23(e) and constitutes the best notice practicable under




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the circumstances, and thus should be approved. See City of Greenville, 2012 WL 1948153, at

*4 (quotation omitted).

IV.        THE COURT SHOULD SCHEDULE A FINAL APPROVAL HEARING

           The last step in the settlement approval process is the final approval hearing, at which the

Court may hear all evidence necessary to evaluate the proposed settlement. At that hearing,

proponents of the settlement may explain and describe its terms and conditions and offer

argument in support of the settlement approval, and members of the Settlement Class or their

counsel may be heard in support of or in opposition to the settlement. DPPs propose the

following schedule of events necessary for a hearing on final approval of the settlement.

                    DATE                                                    EVENT
Within 30 days of the order approving a notice          Defendants to produce customer contact
plan                                                    information to Plaintiffs and Settlement
                                                        Administrator
Within 60 days of the approval of a notice plan         Settlement Administrator to provide direct mail
                                                        and email notice, and commence the
                                                        publication notice plan
60 days after the mailing of Notice                     Last day for Settlement Class Members to
                                                        request exclusion from the Settlement Class
                                                        and for Settlement Class Members to object to
                                                        the settlement
10 days after last day to request exclusion from        Class Counsel shall file with the Court a list of
the settlement                                          all persons and entities who have timely
                                                        requested exclusion from the Settlement Class
14 days before Fairness Hearing                         Class Counsel shall file motion for final
                                                        approval of settlement and all supporting
                                                        papers, and Class Counsel and settling
                                                        defendant Fieldale Farms may respond to any
                                                        objections to the proposed settlement.
No sooner than 45 days after the deadline to            Final Settlement Fairness Hearing
opt out




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V.         CONCLUSION

           For the above stated reasons, DPPs respectfully request that the Court approve the

proposed notice plan and final approval schedule for the Fieldale settlement.

Dated: June 5, 2018

Respectfully submitted,

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